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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


    United States of America,                           Criminal No. 17-196 (DWF/DTS)

                         Plaintiff,
                                                                    MEMORANDUM
    v.                                                         OPINION AND ORDER

    Brent Alan Kehler,

                         Defendant.


Andrew H. Mohring, Douglas L. Micko, and Lisa M. Lopez, Office of the Federal
Defender, counsel for Defendant.

Jeffrey S. Paulsen, Assistant United States Attorney, United States Attorney’s Office,
counsel for the Government.



                                      INTRODUCTION

          This matter is before the Court on Defendant Brent Alan Kehler’s (“Kehler”)

motion for compassionate release. (Doc. No. 122 (“Motion”).) The United States of

America (the “Government”) opposes Kehler’s Motion.1 (Doc. No. 129 (“Govt. Opp.”).)

For the reasons discussed below, the Court shall stay Kehler’s Motion for a period of

three months pending an updated medical assessment of his condition.




1
      The Court also received and considered Kehler’s reply to the Government’s
opposition. (Doc. No. 130 (“Reply”).)
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                                    BACKGROUND

       Kehler was arrested on August 15, 2017 and released on bond to pretrial

supervision on August 18, 2017. (Doc. Nos. 17-20, 95 (“PSR”) ¶ 19.) On November 16,

2017, Kehler pled guilty to knowingly and intentionally conspiring to distribute 50 or

more grams of methamphetamine in violation of 21 U.S.C. §§ 841(b)(1)(B) and 846.2

(Doc. No. 62.)

       On January 4, 2018, Kehler’s probation officer notified the Court of several

alleged presentence violations. (Doc. No. 72.) The Court issued a bench warrant for

Kehler’s arrest the same day. (Doc. No. 75.) The warrant was executed on March 12,

2018 and Kehler has been in custody ever since.3 (Doc. No. 92.) U.S. Probation filed a

Presentence Report on June 29, 2018. (Doc. No. 95 (“PSR”).) The PSR recommended a

guideline sentence of 210-262 months.4 (Id. ¶ 127.) The recommendation included a 2-

level enhancement for reckless endangerment during flight. (Id. ¶ 129.) The

recommendation also reflected a significant criminal history, including eight prior

felonies.5 (Id. ¶¶ 40-97.) The PSR also noted that Kehler violated the terms of his



2
      Kehler’s bond and release conditions were continued at his plea hearing. (Doc.
Nos. 60, 69.)
3
      Kehler was apprehended after fleeing U.S. Marshals in a high-speed car chase
when they tried to arrest him. (PSR ¶ 19.)
4
       Kehler’s attorney argued for a downward departure based on an alleged over-
representation of his criminal history. (Doc. Nos. 104 at 39-41; 112 at 36-37.)
5
       Several of Kehler’s crimes were violent including multiple incidents of domestic
assault, punching a victim and threatening to kill him, threatening violence to collect drug


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probation or supervised release on numerous occasions, and that he escaped from custody

while serving sentences in two separate cases. (Id. ¶¶ 45-46, 48, 51, 53, 59, 62-63, 65,

70, 79.)

       On August 21, 2018, the Court sentenced Kehler to 110 months imprisonment

followed by a five-year term of supervised release. (See Doc. Nos. 106-107.) In

November 2019, Kehler began to experience weakness and pain in his arms and legs.

(Doc. No. 124 (“Def. Appx.”) at 26-681 (“Medical Records”) at 134-35, 489-92.) On

November 22, 2019, Kehler reported to BOP medical staff that he could not move or feel

anything from his abdomen to his toes. (Id. at 127.) On the same day, BOP medical staff

sent Kehler to a local hospital. (Id. at 132-33.) An MRI showed that Kehler was

suffering from an epidural abscess with cervical cord swelling and signs pointing to

spinal cord infarction. (Id. at 517.) Surgeons performed a decompressive laminectomy

on November 23, 2019. (Id.) On November 24, 2019, Kehler regained sensation in his

lower extremities insofar as he could detect touch and feel pain on his feet; however, he

remained paralyzed and could not move his lower body. (Id. at 588-89.) Since this time,

Kehler has received physical and occupational therapy designed to help him live with his

impairment; however, he remains a paraplegic and alleges that his condition has not

improved. (Doc. No. 123 (“Def. Memo.”) at 4-6; see also Medical Records at 39, 41, 55-

56, 356-363, 419-22.)




debt, and fleeing from U.S. Marshals in a vehicle at high speed. (Id. ¶¶ 19, 57, 59-60, 62-
63, 65, 69, 79, 74.)


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       Kehler is currently incarcerated at Springfield MCFP in Missouri. BOP Inmate

Locator, https://www.bop.gov/inmateloc/ (last accessed June 29, 2020). According to the

Bureau of Prisons (“BOP”), Kehler’s release date is December 24, 2025. Id. When he

arrived at Springfield MCFP on March 11, 2010, a nurse assessed Kehler as “a paraplegic

with no movement to his lower extremities, sensation still intact. Incontinent of bladder

and bowel. Needs help with [activities of daily life] to include showering, diaper care,

transferring, and dressing. Can feed himself.” (Medical Records at 95.) The next day, a

doctor evaluated Kehler and opined that his paraplegia was “improving” and “motor

function slowly returning.” (Id. at 84 (“Improvements”).)

       The record reflects that in February 2020, Kehler requested compassionate release

from the warden of his former prison.6 (Def. Appx. at 1-2 (“Request”).) The warden at

USP Leavenworth recommended that release be granted. (Id.) Soon after, this district’s

Probation and Pretrial Services conducted a Compassionate Release-Prerelease Plan.

(Doc. No. 119 (“Plan”).) According to the Plan, Kehler’s sister was willing and able to

provide care for him.7 (Id.). On April 13, 2020, Kehler was notified by the BOP Office

of General Counsel that his request for compassionate release was denied. (Def.

Appx.at 3. (“Denial”).) The Denial asserted that because of Kehler’s Improvements, he

no was no longer sufficiently debilitated to warrant release. (Id.)




6
       At that time, Kehler’s BOP facility was USP Leavenworth.
7
       Kehler’s sister has a single-level home with a wheelchair ramp, a wheelchair
accessible bathroom, and a bedroom available for Kehler’s use. (Plan.)


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       Kehler now moves for release pursuant to 18 U.S.C. § 3582(c)(1)(A) on the

grounds that his paraplegia is an extraordinary and compelling reason because it is a

serious medical condition that diminishes his ability to care for himself within the

environment of a correctional facility and from which he is not expected to recover.

(Def. Memo. at 9.) He asserts that he is confined to a bed more than 50% of waking

hours and is capable of only limited self-care, relying on staff to provide catheter, and

diaper care, turn him, reposition him, bathe him, and prepare him to eat. (Id. at 10 (citing

Medical Records at 212-288).) Kehler strongly contests the Improvements and argues

that the assessment was based on little knowledge of his prior condition. (Id. at 6.)

Moreover, Kehler asserts that he has made no progress since the alleged Improvements.

(Reply at 1 (citing Doc. No. 129-4); see also Reply at 5-6 (describing current condition

and level of care).)

       The Government relies on the Improvements to argue that “it is not yet known

whether Kehler’s paraplegia is temporary or permanent, or whether his condition will

improve to the point where he can take care of himself within the institution,” to argue

that the Court should stay any ruling for at least three months pending an updated

medical prognosis. (Govt. Opp. at 3.) The Government cautions that releasing Kehler

prior to confirming the permanency of his paraplegia poses a grave risk with respect to

his likelihood to flee and potential danger to the community.8 (Id. at 8.) Moreover, the



8
      The Government also asserts that “the fact that [Kehler] is confined to a
wheelchair does not necessarily make him any less dangerous.” (Govt. Opp. at 8.)


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Government asserts that Kehler currently receives better care from his BOP doctors and

medical staff, than he would receive from untrained family members. (Id. at 7.)

                                      DISCUSSION

       Under 18 U.S.C. § 3582(c)(1)(A)(i), a Court may reduce a defendant’s term of

imprisonment if it finds that “extraordinary and compelling reasons warrant such a

reduction” and “such a reduction is consistent with applicable policy statements issued by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i). The Court must also

consider the sentencing factors set forth in 18 U.S.C. § 3553(a) “to the extent they are

applicable.” 18 U.S.C. § 3582(c)(1)(A).


       The Sentencing Commission’s policy statement addressing reduction of sentences

under § 3582(c)(1)(A) asserts in relevant part that a court may reduce a defendant’s term

of imprisonment after considering § 3553(a) factors if it finds that: (1) “extraordinary

and compelling reasons warrant the reduction;” (2) “the defendant is not a danger to the

safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g);” and

(3) “the reduction is consistent with this policy statement.”9 USSG § 1B1.13

(“Statement”). The Statement includes an application note that defines “extraordinary

and compelling reasons” as (1) medical conditions which diminish the ability of the

defendant to provide self-care in prison and from which he or she is not expected to


9
       While the policy statement refers only to motions filed by the BOP Director, the
Court construes the statutory command pursuant to § 3582(c)(1)(A)(ii) that any sentence
reduction be “consistent with applicable policy statements issued by the Sentencing
Commission” to mean that the Statement also applies to motions filed by defendants.


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recover, (2) age-related deterioration, (3) family circumstances, and (4) other

extraordinary and compelling reasons that exist either separately or in combination with

the previously described categories.10 Id.


       Notwithstanding, a defendant may move for a sentence reduction only after

complying with an exhaustion requirement. 18 U.S.C. § 3582(c)(1)(A). Specifically, a

defendant may move for a sentence reduction “[1] after the defendant has fully exhausted

all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on

the defendant’s behalf or [2] the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier . . . .”11 Id.


       The record reflects that Kehler has exhausted his administrative remedies.

Accordingly, Court finds that his Motion is properly before the Court. Notwithstanding,

after a careful review of Kehler’s Motion, supporting memoranda, and Medical Records,

the Court agrees with the Government that a three month stay prior to ruling is

appropriate so that it may properly determine whether Kehler’s condition is improving.

The Court understands the gravity of Kehler’s current debilitation; however, it notes that



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      The Statement cites examples of qualifying medical conditions including
metastatic solid-tumor cancer, amyotrophic lateral sclerosis, end-stage organ disease, and
advanced dementia. (Statement.)
11
        While judicially created exhaustion requirements may sometimes be excused, no
exception applies to a statutory command such as that presented in Section
3582(c)(1)(A). See Ross v. Blake, 136 S. Ct. 1850, 855-57 (2016) (rejecting judicially
created “special circumstances” exception to the exhaustion requirement unambiguously
stated in the Prison Litigation Reform Act of 1995).


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Kehler has served less than a quarter of his sentence, and that he has a history of failing

to abide by the conditions of supervised released, absconding from authorities, and

danger towards the community. Therefore, the Court finds that the most prudent course

of action is to ensure that Kehler’s condition is permanent prior to granting release. If,

after a period of three months, Kehler’s condition has deteriorated or failed to improve,

the Court will consider his Motion.


                                      CONCLUSION

       For the reasons set forth above, the Court shall hold Kehler’s motion in abeyance

for a period of three months, pending an updated medical assessment of his condition at

that time.

                                          ORDER

       Based upon the foregoing, and on all the files, records, and proceedings herein, IT

IS HEREBY ORDERED that Defendant Brent Alan Kehler’s Motion for Release (Doc.

No. [122]) is respectfully STAYED for a period of three months. The stay shall be lifted

upon receipt of an updated medical assessment at that time.

Date: June 30, 2020                               s/Donovan W. Frank
                                                  DONOVAN W. FRANK
                                                  United States District Judge




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